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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 ) CRIMINAL NO. EP-20-CR-389-DCG
                                                   )
PATRICK WOOD CRUSIUS,                              )
                                                   )
        Defendant.                                 )

                ADVISORY TO THE COURT REGARDING FORFEITURE

        COMES NOW the United States of America, Plaintiff, by and through the United States

Attorney for the Western District of Texas, and files this Advisory to the Court Regarding

Forfeiture. The United States respectfully advises the Court as follows:

                                                    I.

        On February 6, 2020, an Indictment (ECF No. 1) was returned against Defendant

PATRICK WOOD CRUSIUS followed by a Superseding Indictment (ECF No. 82) on July 9,

2020, in the instant criminal case. On July 8, 2022, a Bill of Particulars was filed (ECF. No. 238),

which included a Notice of United States of America’s Demand for Forfeiture which sought the

forfeiture of specific personal property, namely:

     1. Romarm/Cugir, model GP WASR-10-semi automatic rifle with serial number A1-
        65552-18;
     2. Two 7.62 x 39 magazines;
     3. Approximately 33 rounds of 7.62 x 39 caliber ammunition;
     4. One .22 caliber cartridge
     5. One tactical helmet, and
     6. Any and all firearms, ammunition, and/or accessories involved in or used in the
        commission of the criminal offense,

hereinafter referred to as the Subject Property.
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                                                II.

       The United States advises this Court that the Subject Property will not be pursued

judicially. Pursuant to the agreement of the parties, the Defendant has abandoned any and all right,

title and interest in the Subject Property.

                                                      Respectfully submitted,


                                                      MARGARET LEACHMAN
                                                      ATTORNEY FOR THE UNITED STATES,
                                                      ACTING UNDER AUTHORITY
                                                      CONFERRED BY 28 U.S.C. § 515


                                              By:     /s/
                                                      PATRICIA J. ACOSTA
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 7, 2023, the foregoing instrument was electronically filed with
the Clerk of the Court using the CM/ECF System which will transmit notification of such filing to
the following CM/ECF participants:

Joe A. Spencer , Jr.
Attorney at Law
Email: joe@joespencerlaw.com
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                                                      /s/
                                                      PATRICIA J. ACOSTA
                                                      Assistant United States Attorney




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